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IN THE UNITED STATES DISTRICT courRT Filép,

i MAGISTRATE SCOFIELD

RUBIN LUBLIN, LLC,

Defendant.

ORDER

part the Magistrate Judge’s R&R [9] and GRANTS defendant’s

Dismiss [2].

In February, 2007, plaintiff obtained a loan from America’s

1 Plaintiff does not object to the Magistrate Judge’s
adopts the “factual allegations” section of the R&R. (R&R

directly on the facts alleged in the complaint.

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FOR THE NORTHERN DISTRICT OF GEORGIA U8.0,. HAMBERS
ATLANTA DIVISION Santa
SEP 99
MICHAEL BOURFF, . 2010
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Plaintiff, bie
; CIVIL ACTION NO. PUY Clery,
v. ' 1:09-CV-2437-JEC

This action is presently before the Court on the Magistrate
Judge’s Report and Recommendation (“R&R”) [93] granting defendant’s
Motion to Dismiss [2]. The Court has reviewed the record and the

arguments of the parties and, for the foregoing reasons, ACCEPTS in

Motion to

BACKGROUND
This case involves a defaulted home mortgage and an allegedly
a“
illegal collection notice arising from the default. (Compl. [1].)

Wholesale

Lender in the amount of $195,200.1 (R&R [9] at 1.) Plaintiff used

the proceeds of the loan to buy property at 1299 Niles Avenue,

statement

of facts. (Pl.’s Objections [10].) The Court thus accepts and

[9] at l-

3.) In addition to facts set forth in the R&R, the Court relies

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Atlanta, Georgia. (Id.) The loan was evidenced by a note, and
secured by a deed to the property. (Id. )

In April, 2009, plaintiff failed to make a payment on the loan,
causing a default under the terms of the note. (Id. at 2.) In June,
2009, BAC Home Loan Servicing, LP f/k/a Countrywide Home Loans
Servicing, LP (“BAC”) received an assignment of the loan and security
deed from America’s Wholesale Lender for the purpose of collecting on
the note. {Id.) BAC subsequently retained defendant, a law firm
engaged in the business of foreclosing on security deeds and
collecting on defaulted promissory notes, to assist in its coliection
efforts. (Compl. [1] at F1 4, 8.)

On May 30, 2009, defendant sent plaintiff a notice stating that
defendant had been retained by BAC to collect the loan secured by the
property at 1299 Niles Avenue. (Id. at Ex. A.) The notice indicated

that it was being sent pursuant to the Fair Debt Collection Practices

Act (“FDCPA”’), 15 U.S.C. § 1692. (Id.) The notice expressly warned
plaintiff that it was sent “in an attempt to collect a debt.” (Id.)
It identified BAC as the “creditor” on the loan. (Id.)

Shortly after his receipt of the above notice, plaintiff filed
this action pursuant to the FDCPA. (Compl. [1l].) In the complaint,
plaintiff alleges that the notice violated § 1692e of the FDCPA
because it contained a false, deceptive, or misleading
representation. (Id. at 47 15, 17.) Specifically, plaintiff claims

that the notice falsely represented that BAC was the “creditor” on

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the loan, when entities such as BAC are specifically excluded from

the definition of the term “creditor” under the FDCPA. (Td. at WT
12-15.) As relief for the alleged violation, plaintiff seeks
damages, attorney’s fees, and litigation expenses. (Id. at 9-10.)

Defendant has filed a motion to dismiss plaintiff’s complaint
pursuant to Federal Rule 12(b) (6), which is presently before the
Court. (Def.’s Mot. to Dismiss [2].) Magistrate Judge Scofield
issued an R&R recommending that the Court grant defendant’s motion.
{R&R [9] at 15, 18.) Plaintiff submitted timely objections to the
Magistrate’s conclusions. (Pl.’s Objections [10].) Pursuant to 28
U.S.C. § 636(b)(1} and Fep. R. Civ. P. 72, the Court has conducted a
careful, de novo review of those portions of the R&R to which
plaintiff objected. The Court has reviewed the remainder of the R&R
for clear error.

DISCUSSION

I. Standard For Rule 12({b) (6) Dismissal

The Magistrate Judge correctly set forth the standard applicable
to defendant’s motion to dismiss. {R&R [9] at 4-7.) In deciding a
motion to dismiss, the Court assumes that all of the allegations in
the complaint are true, and construes all of the facts in favor of
the plaintiff. Belanger v. Salvation Army, 556 F.3d 1153, 1155 (11th
Cir. 2009). That said, a complaint must provide more than “labels
and conclusions” or a “formulaic recitation of the elements of a

cause of action” to survive a motion to dismiss. Bell Ati. Corp. v.

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Twombly, 550 U.S. 544, 555 (2007). To avoid dismissal, plaintiff's
factual allegations must raise more than a speculative right to
relief, and the complaint must include “either direct or inferential
allegations respecting all the material elements” of the asserted
cause of action. Id. at 555, 560-63.

When ruling on a Rule 12(b) (6) motion, the Court generally
cannot rely upon any materials outside of the pleadings. frustmark
Ins. Co. v. ESLU, Ine., 299 F.3d 1265, 1267 (i1lth Cir. 2002).
However, Federal Rule 10{c) provides that exhibits attached to the
complaint are part of the pleadings for all purposes, including a
Rule 12(b}(6) motion. Frep. R. Civ. P. 10{c) See also Griffin Indus.,
Inc. v. Irvin, 496 F.3d 1189, 1205 (11th Cir. 2007) (applying Rule
10fc). Pursuant to Rule 10(c), the Court will consider the allegedly
illegal collection notice, the note, and the assignment of the
security deed to BAC, which are all attached as exhibits to the
complaint.?

II. Plaintiff's FDCPA Claim

The Magistrate Judge also accurately summarized the iaw
applicable to plaintiff's FDCPA claim. (R&R [9] at 8-13.) The
stated purpose of the FDCPA is to “‘eliminate abusive debt collection
practices by debt collectors, [and] to insure that those debt

collectors who refrain from using abusive debt collection practices

2 Plaintiff did not object to the Magistrate Judge’s reliance
upon the exhibits to the complaint in the R&R. (Pl.’s Objections
[10].}

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are not competitively disadvantaged.’” LeBlanc v. Unifund CCR
Partners, 601 F.3d 1185, 1190 (llth Cir. 2010) (quoting 15 U.S.C. §
1692(e)}. See also Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367,
1370 (llth Cir. 1998) (the FDCPA is intended to “protect consumers
from a host of unfair, harassing, and deceptive debt collection
practices without imposing unnecessary restrictions on ethical debt
collectors”). To that end, § 1692e of the FDCPA prohibits a “debt
collector” from using “any false, deceptive, or misleading
representation or means in connection with the collection of any
debt.” 15 U.S.C. § 1692e and LeBlanc, 601 F.3d at 1190.

Plaintiff claims that defendant violated the above provision by
falsely stating in its collection notice that BAC was the “creditor”
on his home mortgage loan. (Compl. [1] at 7 1.) Defendant argues
that the FDCPA is inapplicable here, because the notice was not sent
“in connection with the collection of [a] debt” but rather in
connection with an attempt to foreclose on a security interest.
(Def.’s Br. [2] at 3-6.) Assuming that the FDCPA applies, defendant
argues that its conduct did not violate the Act because the notice
was factually accurate, and any misstatements were harmless, (Id. at
6-8.) The Magistrate Judge agreed with defendant on both points.
(R&R [9] at 14, 18.)

A. Plaintiff's claim is arguably covered by the FDCPA.

Federal courts have taken different positions on whether

foreclosure activities are covered by the FDCPA. Compare Wilson v.

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Draper & Goldberg, P.L.L.C., 443 #F.3d 373, 376 (4th Cir.
2006} (finding “no reason to make an exception to the [FDCPA] when the
debt collector uses foreclosure instead of other methods” to collect
a debt) and Montgomery v. Huntington Bank, 346 F.3d 693, 700 (6th
Cir. 2003) (holding that an enforcer of a security interest “falls
outside the ambit” of the FDCPA). The Eleventh Circuit recently held
that foreclosing on a security interest does not generally qualify as
“debt collection” for purposes of the FDCPA. Warren v. Countrywide
Home Loans, Inc., 342 Fed. Appx. 458, 460 (llth Cir. 2009). In
Warren, the Court noted that the FDCPA expressly defines “debt
collection” to include the enforcement of a security interest for
purposes of § 1692f(6) of the FDCPA, a provision that specifically
addresses nonjudicial foreclosures. Id. at 460-61. Citing the
expressio unius principle, the Court reasoned that the enforcement of
a security interest should not be considered “debt collection” for
purposes of any other section of the Act. fd.

Although Warren is an unpublished decision, it i8 a good
indicator of the Eleventh Circuit’s position on the issue. Moreover,
the Court finds the expressio unius rationale of Warren persuasive.
The Court is also persuaded by the reasoning of other courts that
have distinguished between the “enforcement of [a] security
interest[s]” and the “collection of a debt” as fundamentally
different activities. See Beadle v. Haughey, 2005 WL 300060 at *2

(D.N.H. 2005) and Rosado v. Taylor, 324 F. Supp. 2d 917, 924 (N.D.

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Ind. 2004). As the court explained in Beadle:

One receiving debt collection letters may agonize that she

[or he] cannot comply with them, hence she [or he] needs

the Act’s protection. One asked to comply with a security

interest enforcement request, on the other hand, has the

security that she [or he} can return (unless she [or he]

has been a malefactor}).

Beadle, 2005 WL 300060 at * 3.

Applying Warren, and other relevant case law, the Court agrees
with the Magistrate Judge that foreclosure on a home mortgage does
not qualify as “debt collection” and is therefore not subject to the
requirements of § 1692e of the FDCPA. (R&R [9] at 9.} However, that
legal conclusion does not end the Court’s inquiry. The question
still remains whether defendant was enforcing a security interest or
attempting to collect a debt when it sent the allegedly noncompliant
notice to plaintiff.

Courts that have distinguished between “debt collection” and
“enforcement of [a] security interest[s!” generally have recognized
that, even when a security interest is involved, an entity that
engages in a broader scope of activity than simply seeking
foreclosure on security may subject itself to the FDCPA. See Beadle,
2005 WL 300060 at * 3 (distinguishing cases where the defendant took
action that qualified as general debt collection “rather than focused
action against the security”). Thus, the FDCPA is called back into
Play when the enforcer of a security interest seeks a personal

judgment against the debtor for a deficiency, or otherwise attempts

to obtain payment on the underlying debt. See Rousseau v. Bank of

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New York, 2009 WL 3162153 at * 8 (D. Colo. 2009) (“in contrast to a
foreclosure that is only against the property, where there is some
attempt to collect money in addition to the enforcement of a security
interest, an FDCPA claim will lie”).

Assuming the allegations in the complaint are true, defendant
was not merely trying to foreclose on plaintiff’s home when it sent
the notice that is at issue here. (Compi. [1] at TG 1, 8.) Rather,
defendant was attempting to collect on the underlying promissory
note. (Id.} This conclusion is bolstered by the plain language of
the notice, which states that defendant has been retained to “collect
the loan secured by [plaintiff’s] property” and instructs plaintiff
to contact defendant to “find out the total current amount needed to
either bring [the] loan current or to pay off [the] loan in full.”
(Td. at Ex. A.} The notice advises plaintiff that the collection
“may involve foreclosure proceedings” but it does not reference any
ongoing proceedings. {Id.) In fact, it is not apparent from the
complaint, or any of its exhibits, that defendant ever initiated a
foreclosure.

On summary judgment, defendant might be able to prove that it

was not engaged in “debt collection activity” in this case because it

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was hired solely to foreclose on plaintiff’s home.’ However, that
conclusion does not necessarily follow from the materiais that are
properly before the Court at this stage in the litigation. Plaintiff
has sufficiently alleged that defendant sent the notice in an attempt
to collect payment on a promissory note. His allegations are
bolstered by the plain language of the notice. The Court thus

rejects defendant’s argument, and the Magistrate Judge’s conclusion,

‘that plaintiff's claim should be dismissed because the FDCPA is

inapplicable.

B. Defendant did not violate the FDCPA.

Nevertheless, the Court agrees with the Magistrate Judge that
defendant’s motion to dismiss should be granted because plaintiff has
not alleged a violation of the FDCPA. (R&R [9] at 15-19.)
Plaintiff’s claim purportedly arises under § 1692e of the FDCPA.
(Compl. [1].) As discussed, § 1692e prohibits the use of “any false,
deceptive, or misleading representation or means in connection with
the collection of any debt.” 15 U.S.C. § 1692e. Plaintiff claims

that defendant violated § 1692e by falsely representing that BAC was

3 Defendant might also be able to prove that it is not a “debt
collector” under the FDCPA because, regardless of its actions in this
case, it does not “regularly collect[] or attempt[j to collect
debts owed or due or asserted to be owed or due another.” 15 U.S.C.
§ 1692a(6) (defining the term “debt collector” for purposes of the
FDCPA) .

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the “creditor” on his loan.‘ (Id. at 7 1.)

Claims under § 1692e are analyzed under the “least sophisticated
consumer” standard. LeBlanc, 601 F.3d at 1193-94 (citing Jeter v.
Credit Bureau, Ine., 760 F,2d 1168, 1175-77 (11th Cir. 1985)).
Applying that standard, the relevant question is whether a particular
representation has the capacity to deceive a hypothetical “least
sophisticated consumer.” Id. Although he might be naive, the “least
sophisticated consumer” is “presumed to possess a rudimentary amount
of information about the world and a willingness to read a collection
notice with some care.” Id. at 1194. The applicable standard thus
“prevents liability for bizarre or idiosyncratic interpretations

by preserving a quotient of reasonableness.” fd.

Plaintiff does not allege that he was actually deceived or
misled by the designation of BAC as the creditor on his loan.
(Compl. [1] .) Indeed, the name of plaintiff’s original lender
appears in bold print on the loan documents that plaintiff executed.
(Td. at Ex. B.) The Court thus presumes that plaintiff was fully
aware of the identity of the creditor. Moreover, the notice provided
plaintiff with an opportunity to correct any misidentification,

stating:

4 BAC is a mortgage loan servicing company that is in the

business of calculating and collecting monthly mortgage payments, and
foreclosing in the event of a default in the terms of the mortgage.
(Compl. [1] at {7 10.) Pursuant to the terms of its agreement with
the lender, BAC received an assignment of the deed that secured
plaintiff’s home after plaintiff defaulted on his mortgage loan
April, 2009. (Id. at TI 11, 13.)

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If the creditor named in this letter is not the original
creditor, and you make a written request to this law firm
within thirty (30) days from receipt of this notice, then

the name and address of the original creditor will be

mailed to you by this law firm.

(Id. at Ex. A.} Plaintiff failed to make a request pursuant to the
above provision.

Although plaintiff knew, or at the very least had every
opportunity to discover, the identity of the creditor on his loan, he
believes that he should be able to recover under the FDCPA because
the creditor designation in defendant’s notice was technically

inaccurate. The Court disagrees. As an initial matter, plaintiff

concedes that BAC had the legal right to foreclose on his home as a

result of the assignment of the security deed. (Id. at 7 13 and Ex.
Cc.) As such, BAC was a “creditor” as that term is commonly
understood. See Biack’s Law DICTIONARY 396 (8th ed. 2004) (defining

“creditor” as an “entity with a definite claim against another”) and
Trent v. Mortg. Elec. Registration Sys., Inc., 618 F. Supp. 2d 1356,
1363 (M.D. Fla. 2007) (finding no violation of the Florida Consumer
Collection Practices Act (“FCCPA”) in a similar case).°

Even assuming that BAC is not technically a creditor, the Court
is of the same view as the Magistrate Judge and the court in frent

that the creditor designation was a “harmiess mistake in

° In upholding Trent, the Eleventh Circuit emphasized that the
entity designated as the “creditor” had the legal right to foreclose
on the debtor's property. Trent, 288 Fed. Appx. 571, 572 (11th Cir.
2008) (per curiam).

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nomenclature, not an abusive or harassing debt collection practice.”
Trent, 618 F. Supp. 2d at 1363. It is simply inconceivable, under
the circumstances presented in this case, that even the most naive
consumer would be misled by the designation of BAC as the creditor on
plaintiff’s loan. Accordingly, the Magistrate Judge correctly
recommended granting defendant’s motion to dismiss plaintiff’s FDCPA
claim.
CONCLUSION
For the foregoing reasons, the Court ACCEPTS in part the

Magistrate Judge’s R&R [9] and GRANTS defendant’s Motion to Dismiss

[2].

SO ORDERED, this Hee day of September, 2010.

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IE E. CARNES
IEF UNITED STATES DISTRICT JUDGE

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